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                          UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF PENNSYLVANIA


DEMCHAK PARTNERS LIMITED
PARTNERSHIP; JAMES P. BURGER, JR. and
BARBARA H. BURGER; WILLIAM A.
BURKE, II and CLARA BURKE; WILLIAM
A. BURKE, III; EDWARD J. BURKE;
DONALD G. FULLER and KAREN M.                             Case No. _____________
FULLER; RANDY K. HEMERLY; LAMAR R.
KING; LINDA J. SCHLICK; AND JANET C.                      CLASS ACTION
YOUNG, on Behalf of Themselves and All                    COMPLAINT AND JURY
Others Similarly Situated,                                DEMAND

                                Plaintiffs

            v.

CHESAPEAKE APPALACHIA, L.L.C.,

                                Defendant.


                               CLASS ACTION COMPLAINT

            Come now the Plaintiffs identified below (“Plaintiffs”), on behalf of

themselves and all others similarly situated, and by and through their undersigned

counsel, file this Complaint against Defendant Chesapeake Appalachia, L.L.C.

(“Chesapeake” or “Defendant”) and in support thereof state and aver as follows:

I.          INTRODUCTION
            1.      This is a class action to obtain monetary damages and declaratory and

injunctive relief based on the underpayment of royalties by Chesapeake on natural




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gas produced by Chesapeake under common oil and gas leases entered by

Plaintiffs and similarly situated Class members in the Commonwealth of

Pennsylvania.

II.         PARTIES

            A.      Plaintiffs
            2.      Plaintiff Demchak Partners Limited Partnership is a limited

partnership organized and existing under the laws of Pennsylvania. Its principal

place of business is located at 247 Jayne Lane, Meshoppen, Pennsylvania 18630.

Its members/partners are Joseph P. Demchak and Billie S. Demchak, who, at all

relevant times hereto, are citizens of Susquehanna County, Pennsylvania, residing

at 247 Jayne Lane, Meshoppen, Pennsylvania 18630.

            3.      Plaintiffs James P. Burger, Jr. and Barbara H. Burger, husband and

wife, at all relevant times hereto, are citizens of Lehigh County, Pennsylvania.

They reside at 4176 E. Rock Road, Allentown, Pennsylvania 18103.

            4.      Plaintiffs William A. Burke, II and Clara Burke, husband and wife, at

all relevant times hereto, are citizens of Susquehanna County, Pennsylvania. They

reside at 196 Dean Road, Meshoppen, Pennsylvania 18630.

            5.      Plaintiff William A. Burke, III, at all relevant times hereto, is a citizen

of Susquehanna County, Pennsylvania. He resides at 5429 State Route 3001,

Meshoppen, Pennsylvania 18630.




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            6.      Plaintiff Edward J. Burke, at all relevant times hereto, is a citizen of

Susquehanna County, Pennsylvania. He resides at 5024 State Route 3001,

Meshoppen, Pennsylvania 18630.

            7.      Plaintiffs Donald G. Fuller and Karen M. Fuller, husband and wife, at

all relevant times hereto, are citizens of Susquehanna County, Pennsylvania. They

reside at 334 Live Hill Road, Meshoppen, Pennsylvania 18630.

            8.      Plaintiff Randy K. Hemerly, at all relevant times hereto, is a citizen of

Northampton County, Pennsylvania. He resides at 1202 Bushkill Cnt. Road,

Nazareth, Pennsylvania 18064.

            9.      Plaintiff Lamar R. King, at all relevant times hereto, is a citizen of

Lancaster County, Pennsylvania. He resides at 2407 Valley View Road, Narvon,

Pennsylvania 17555.

            10.     Plaintiff Linda J. Schlick, at all relevant times hereto, is a citizen of

Montgomery County, Pennsylvania. She resides at 130 Third Street,

Schwenksville, Pennsylvania 19473.

            11.     Plaintiff Janet C. Young (f/k/a Janet Colwell), at all relevant times

hereto, is a citizen of Cortland County, New York. She resides at 7127 West

Keeney Road, Cuyler, New York 13158.

            12.     Each Plaintiff is the owner of property, including gas interests, in the

Commonwealth of Pennsylvania. Each Plaintiff is a party to one or more gas



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leases under which Plaintiff or their predecessor-in-interest, as lessor, leased

certain of their gas interests in Pennsylvania to Chesapeake, as lessee. True and

correct copies of Plaintiffs’ respective leases with Chesapeake are attached hereto

as Exhibits A through J. The gas interests covered by the leases are located in the

counties of Bradford or Susquehanna, Pennsylvania.

            B.      Defendant
            13.     Defendant Chesapeake Appalachia, L.L.C. is a limited liability

company organized and existing under the laws of the State of Oklahoma, with its

principal place of business located in Oklahoma City, Oklahoma. For the purposes

of this action, Chesapeake is a citizen of Oklahoma pursuant to 28 U.S.C.

§1332(d)(10).

III.        JURISDICTION
            14.     This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §1332 (d)(diversity jurisdiction) and the Class Action

Fairness Act (“CAFA”), in that (i) there is diversity (Plaintiffs are citizens of

Pennsylvania or New York, and Defendant is a citizen of Oklahoma), (ii) the

aggregate amount in controversy exceeds five million dollars ($5,000,000)

exclusive of interest and costs, and (iii) there are more than 100 members of the

proposed Class.




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            15.   Defendant conducts substantial business in the Commonwealth of

Pennsylvania, including, inter alia, producing gas and entering into agreements

for the sale of property and property rights, and has sufficient contacts with

Pennsylvania or otherwise intentionally avails itself of the laws of Pennsylvania,

so as to sustain this Court’s jurisdiction over the Defendant.

            16.   Venue is proper in this District pursuant to 28 U.S.C. §1391 (a)(2)

because a substantial part of the acts and transactions giving rise to the claims

occurred in the Commonwealth of Pennsylvania and in this District, and pursuant

to 28 U.S.C. § 1391(a)(3) because Defendant is subject to personal

jurisdiction at the time this action is commenced.

IV.         DEFINITIONS

            17.   The following definitions apply to this Complaint:

                  a.    “Gas” means natural gas, including associated liquid

hydrocarbons, that is not Processed Gas or Treated Gas.

                  b.    “Processed Gas” means natural gas that is processed for the

recovery of natural gas liquids therefrom in a gas processing, absorption, stripping

or similar plant with resulting natural gas liquids that are separately marketed and

sold. Natural gas is not Processed Gas solely because it is passed through a

mechanical separator for the removal of liquid hydrocarbons at or near a well.




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               c.    “Treated Gas” means natural gas that is treated in a plant or

facility designed for the removal of hydrogen sulfide, carbon dioxide, or other

contaminants. Natural gas is not Treated Gas solely because it is passed through a

mechanical separator for the removal of liquid hydrocarbons, water, or

contaminants at or near a well.

               d.    “Market Enhancement Clause” means Royalty payment clauses

or provisions in an oil and gas lease that preclude the lessee from deducting Post-

Production Costs incurred to transform leasehold gas into marketable form or make

such gas ready for sale or use but permit the lessee to deduct a pro rata share of

Post-Production Costs incurred after the gas is marketable or ready for sale or use.

Such clauses are often entitled or referred to as “Market Enhancement Clauses,”

“MECs” or “Ready for Sale or Use Clauses.”

               e.    “Pennsylvania Leases” means each and every oil and gas lease

that (a) covers a leasehold located in Pennsylvania, (b) contains a Market

Enhancement Clause, and (c) is or has been owned, in whole or in part, by

Chesapeake as a lessee, according to the business records maintained by

Chesapeake.

               f.    “Royalty” means lessor royalty interests, and does not include

overriding royalty interests.




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V.          COMMON FACTUAL BACKGROUND
            18.   Plaintiffs and the Class Members have received and/or are entitled to

receive Royalties from Chesapeake on Gas produced by Chesapeake under

Pennsylvania Leases. Chesapeake is responsible for the proper determination,

calculation, distribution, and payment of Royalties due and owing to Plaintiffs and

the Class Members on Gas produced by Chesapeake.

            19.   Through the uniform practices, acts and omissions described herein,

Chesapeake has failed to pay the true Royalties owed to Plaintiffs and the Class

Members, and Plaintiffs and the Class Members have been and/or will be damaged

in an amount to be proven at trial.

            20.   Under the express terms of the Pennsylvania Leases, Chesapeake is

not permitted to deduct from Royalty payments to Plaintiffs and the Class

Members the costs Chesapeake incurs to transform Plaintiffs’ and the Class

Members’ Gas into marketable form.

            21.   Chesapeake’s Gas production is moved from its wells through a series

of gathering lines, dehydrators, and compressor stations, and eventually delivered

to interstate pipelines, including to the Tennessee Gas pipeline and the Transco

pipeline, for sale and delivery to various end-use customers. Substantial volumes

of water are entrained in the raw gas stream, and the Gas must be dehydrated in

order for the Gas to meet the quality specifications of the interstate pipeline



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            22.   When calculating its Royalty payments to Plaintiffs and the Class

Members, Chesapeake deducts costs for various “post-wellhead” activities,

including costs for gathering, dehydration, compression, and otherwise placing the

Gas onto the interstate pipeline system.

            23.   Plaintiffs contend that Chesapeake’s Gas is not in marketable form

until it meets the quality and pressure specifications of the interstate pipeline into

which it is delivered. Plaintiffs contend, therefore, that the raw Gas produced by

Chesapeake is not marketable at the well and that Chesapeake’s deductions for

gathering, dehydration and compression are improper and in breach of the

Pennsylvania Leases, i.e., the deductions are for activities that are necessary to

transform the Gas into marketable form. Plaintiffs contend, alternatively, that

some of the costs deducted by Chesapeake were in excess of actual and reasonable

costs and such costs were, therefore, deducted in breach of the Pennsylvania

Leases.

            24.    Chesapeake has deducted and will, upon information and belief,

continue to deduct costs for gathering, dehydration and compression. Chesapeake

should be enjoined and restrained from taking such deductions under the

Pennsylvania Leases in the future.



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            25.   Based on the implied duty to market and/or the duty to act as a

reasonable prudent operator, which duties are imposed on Chesapeake as a matter

of law, Chesapeake is also obligated to market and sell its Gas production at the

highest price obtainable. Chesapeake has, upon information and belief, sold Gas in

an unmarketable condition to affiliates or third parties, who (a) perform the

activities that are necessary to place the Gas in a marketable condition, and (b) then

sell the Gas in a marketable condition at an increased price (e.g., at fair market

value). Chesapeake pays Royalties to Plaintiffs and the Class Members based on

its sales of Gas in an unmarketable condition at below-market prices, instead of

based on the (higher) fair market value prices Chesapeake could and should have

obtained from the sale of Gas in a marketable condition. Chesapeake breached its

duty to market and underpaid the Royalties owed to Plaintiffs and the Class

Members by selling Gas in an unmarketable condition and paying Royalties based

on such below-market prices; and Chesapeake also utilized such transactions to

improperly impose on Plaintiffs and the Class Members the costs of placing the

Gas produced by Chesapeake in a marketable condition.

VI.         CLASS ACTION ALLEGATIONS
            26.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs

bring this action on behalf of themselves and the Class, defined as follows:

                  All individuals and entities, including their predecessors
                  and successors-in-interest, who are lessor parties to an oil


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                  and gas lease that (a) covers a leasehold located in
                  Pennsylvania, (b) contains a Market Enhancement
                  Clause, and (c) is or has been owned, in whole or in part,
                  by Chesapeake as a lessee, according to the business
                  records maintained by Chesapeake.

            27.   Excluded from the Class are: (a) Chesapeake, Chesapeake’s affiliates,

and their respective predecessors and successors; (b) any person or entity who

owns a working interest in or operates a gas well in Pennsylvania; (c) any person

or entity who receives royalty in kind pursuant to a Pennsylvania Lease; (d) any

person (i) whose lease contains a Market Enhancement Clause, (ii) to whom

Chesapeake has made no Royalty payments as of the date of this Agreement, and

(iii) whose lease has been sold, transferred, and/or assigned by Chesapeake in its

entirety as of the date of this Agreement; (e) any person or entity who has

previously released Chesapeake from liability concerning or encompassing any or

all Settled Claims; (f) the federal government; (g) the Commonwealth of

Pennsylvania; (h) legally-recognized Indian Tribes; and (i) any Judge or Magistrate

presiding over this action and members of their families.

            28.   Numerosity: The members of the Class (“Class Members”) are so

numerous that joinder of all members is impractical. The precise number and

identity of Class Members is unknown to Plaintiffs. However, upon information

and belief, Plaintiffs believe it is in excess of 1,000. Moreover, upon information

and belief, the number and identity of Class Members is ascertainable from



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Defendant’s records and the Class Members may thus be notified of the pendency

of this action by first class mail.

            29.   Commonality: There are questions of law and/or fact common to the

Class that predominate over any questions affecting individual Class Members.

These questions are capable of classwide resolution, and answering them will

resolve issues central to the validity of Plaintiffs’ claims. These questions include,

but are not limited to, the following:

                  a.    The methodology and underlying records used by Chesapeake

to calculate Royalties due to Plaintiffs and the Class Members;

                  b.    The gas prices (per MCF and/or per MMBtu) used by

Chesapeake to make its Gas Royalty payments to Plaintiffs and the Class Members

on Gas produced by Chesapeake, and the transactions upon which those gas prices

were based;

                  c.    Whether the gas prices used by Chesapeake to make its Royalty

payments to Plaintiffs and the Class Members on Gas produced by Chesapeake

were less than the fair market value prices for such Gas;

                  d.    The types of post-wellhead costs and other fees, costs, and

expenses that were charged, directly or indirectly, by Chesapeake to Plaintiffs and

the Class Members;




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                  e.    Whether the post-wellhead costs charged by Chesapeake to

Plaintiffs and the Class Members are improper as a matter of law and/or fact; and

                  f.    Whether Chesapeake has violated its duty to properly account

and pay Royalties to Plaintiffs and the Class Members on Gas produced in

Pennsylvania as a result of the acts and omissions described herein.

            30.   The common pattern of conduct by Defendant (along with the

common theories for redressing the misconduct) support the maintenance of this

action as a class action pursuant to Rule 23(b)(3) of the Federal Rules of Civil

Procedure.

            31.   Typicality: Plaintiffs’ claims are typical of the claims of the Class, as

all such claims arise out of Chesapeake’s uniform practice of making deductions

for gathering, dehydration and compression of the Gas (breach of leases), including

Chesapeake’s practice of selling Gas in an unmarketable condition, paying

Royalties based on such below-market prices, and utilizing such transactions to

improperly impose on Plaintiffs and the Class Members the costs of placing the

Gas produced by Chesapeake in a marketable condition.

            32.   Adequate Representation: Plaintiffs are adequate representatives of

the Class and will fairly and adequately protect the interests of the Class. Plaintiffs

have retained counsel with experience in complex class action litigations, including

actions involving breaches of oil and gas leases and underpayment of royalties.



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Plaintiffs and their counsel are committed to prosecuting this action vigorously on

behalf of the Class they represent, and have the financial resources to do so.

Neither Plaintiffs nor their counsel have any interest adverse to those of the Class.

            33.   Predominance and Superiority: This class action is appropriate for

certification because questions of law and fact common to the members of the

Class predominate over questions affecting only individual members and a class

action is superior to other available methods for the fair and efficient adjudication

of this controversy, since individual joinder of all members of the Class is

impracticable. Absent a class action, many members of the Class will find the

litigation costs regarding their claims so prohibitive that they effectively would be

unable to seek any redress at law. Because of the size of the individual Class

Members' claims, many could not afford to seek legal redress or the relief

requested for the wrongs set forth herein. A Class Action is the only realistic

method available for the fair and efficient adjudication of this controversy. The

expense and burden of individual litigation makes it impracticable for members of

the Class to seek redress individually for the wrongful conduct alleged herein.

Were each individual Class Member required to bring a separate lawsuit, the

resulting multiplicity of proceedings would cause undue hardship and expense for

the litigants and the Court, and create the risk of inconsistent rulings that would be

contrary to the interest of justice and equity. Absent a class action, Defendant will



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probably continue the improper and wrongful conduct herein described, the Class

Members will continue to be damaged by Defendant’s wrongful conduct, and

Defendant’s violations of the law will continue without remedy.

VII. CAUSES OF ACTION

                                     COUNT I
                                BREACH OF CONTRACT

            34.   Plaintiffs, individually and on behalf of all other similarly situated,

restate and incorporate herein by reference all of the allegations contained in the

above numbered paragraphs.

            35.   Plaintiffs and the Class Members entered into the Pennsylvania

Leases, which are contracts pursuant to which Chesapeake owed and owes

Royalties for the production and sale of Gas.

            36.   The above-described conduct constitutes violations and breaches of

the express and implied obligations which Chesapeake owes to Plaintiffs and the

Class Members under their Pennsylvania Leases, including, but not limited to, the

Market Enhancement Clause that prohibits Chesapeake from taking deductions

from Royalties owed to Plaintiffs and Class members and implied duties that

require Chesapeake to market the Gas and obtain the highest price obtainable for it.

            37.   Plaintiffs and the Class Members have been damaged as a result

thereof and are entitled to recover their actual damages from Chesapeake, statutory




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or other interest at the maximum lawful rate, and any and all other relief deemed

appropriate by the Court.

                                     COUNT II
                             BREACH OF IMPLIED DUTIES
            38.   Plaintiffs, individually and on behalf of all other similarly situated,

restate and incorporate herein by reference all of the allegations contained in the

above-numbered paragraphs.

            39.   At all times material to this Complaint, Chesapeake owed and owes

Plaintiffs and the Class Members certain obligations resulting from implied

covenants and duties, including the duty to market, the duty to obtain the highest

price obtainable for Gas produced, the duty to act as a reasonably prudent operator,

and the duties of good faith and fair dealing.

            40.   The above-described conduct constitutes violations and breaches of

the implied duties which Chesapeake owes to Plaintiffs and the Class Members as

a matter of law.

            41.   Plaintiffs and the Class Members have been damaged as a result

thereof and are entitled to recover their actual damages from Chesapeake, statutory

or other interest at the maximum lawful rate, and any and all other relief deemed

appropriate by the Court.




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                               COUNT III
            REQUEST FOR INJUNCTIVE AND DECLARATORY RELIEF

            42.   Plaintiffs, individually and on behalf of all other similarly situated,

restate and incorporate herein by reference all of the allegations contained in the

above-numbered paragraphs.

            43.   Defendant will continue the improper and wrongful conduct herein

described, the Class Members will continue to be damaged by Defendant’s

wrongful conduct, and Defendant’s violations of the law will continue without

remedy.

            44.   Plaintiffs and Class Members have been damaged and are threatened

with damages by Defendant’s continued (1) deductions from Royalties owed to

Plaintiffs in violation of the Market Enhancement Clause, and (2) sales of Gas in

an unmarketable condition at prices less than the highest prices obtainable.

            45.   Defendant has acted, and threatened to act, on grounds generally

applicable to the individual members of the Class, thereby making appropriate

preliminary and permanent injunctive relief enjoining Defendant from engaging in

the improper and wrongful conduct heretofore alleged.

            46.   Irreparable harm will be done if the injunction is denied.

            47.   The balance of equities is in favor of granting the injunction, as

Plaintiffs and the Class have been injured by Defendant’s actions and will continue

to be injured absent the requested injunctive relief.


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            48.   A legitimate dispute exists, wherein Plaintiffs claim, inter alia, that

Defendant improperly and in violation of the Pennsylvania Leases deducts certain

expenses and does not sell its Gas production at the highest price obtainable, and

Defendant denies the same. The early resolution of these legal rights will resolve

some or all of the other issues in this matter.

XIII. PRAYER FOR RELIEF
            WHEREFORE, Plaintiffs respectfully request, on behalf of themselves and

the Class, that this Court:

            1.    Enter an order certifying Plaintiffs’ Class, pursuant to Rule 23,

appointing Plaintiffs as Class Representatives, and appointing the undersigned

counsel of record as Class Counsel;

            2.    Enter judgment in favor of each Class Member for damages suffered

as a result of the conduct alleged herein, to include interest and pre-judgment

interest;

            3.    Award Plaintiffs reasonable attorney fees and costs;

            4.    Enter an order for injunctive and declaratory relief and enjoining

Defendant from pursuing the policies, acts and practices described in this

Complaint; and

            5.    Grant such other and further legal and equitable relief as this Court

deems just and necessary.



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Dated: August 30, 2013                    PLAINTIFFS

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